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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,

                                    Plaintiff,                           REPORT AND
                                                                         RECOMMENDATION
          -against-
                                                                         10-CR-627 (KAM)

 COURTNEY DUPREE, THOMAS FOLEY,
 and RODNEY WATTS,

                                     Defendants.
 ------------------------------------------------------------------X

 A P P E A R A N C E S:

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 AZRACK, United States Magistrate Judge:

         On April 25, 2011, the Honorable Kiyo A. Matsumoto referred to me defendant Rodney

 Watts’ post-indictment, pretrial hearing pursuant to United States v. Monsanto (“Monsanto IV”),

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 924 F.2d 1186 (2d Cir. 1991). Minute Entry of Apr. 25, 2011. Prior to the May 13, 2011,

 hearing, I informed the parties that I was satisfied that, per Federal Bureau of Investigation

 (“FBI”) forensic accountant Christopher Petrellese’s April 28, 2011 affidavit, Government Letter

 of April 29, 2011, Ex. A (“Petrellese Aff.”), ECF No. 184, the government met its burden of

 establishing probable cause to believe that the Unalite Southwest, LLC (“USW”) bank funds

 presently at issue1 are forfeitable and, therefore, may lawfully continue to be restrained.

 Scheduling Order as to Monsanto Hearing 2, ECF No. 203. Accordingly, the hearing was

 strictly limited to defendant Watts’ cross-examination of Mr. Petrellese with regard to the factual

 statements sworn to in Mr. Petrellese’s affidavit in support of the “but for” test advanced by the

 government. Id.; see generally Transcript of Monsanto Hearing (“Monsanto Tr.”).

         Having carefully reviewed the testimony and exhibits offered into evidence at the

 hearing, as well as defendant Watts’ and the government’s post-hearing memoranda, for the

 reasons articulated below, I respectfully recommend that the Court find that defendant Watts has

 failed to establish that the government lacks probable cause to continue restraining the seized

 USW bank funds as property subject to forfeiture.

                                           I.       BACKGROUND

         The procedural history of this case has been described in detail by Judge Matsumoto in

 prior memoranda and orders, see, e.g., Mem. and Order, March 18, 2011, ECF No. 133;

 therefore, for the purposes of this Report and Recommendation, I shall assume familiarity with

 this case’s history prior to the point when Judge Matsumoto ordered the Monsanto hearing.

 1
   By letter dated May 19, 2011, the government addressed the seized Unalite NY Chase account ending in “1036,”
 which currently holds approximately $331,000, but was not addressed by either party at the Monsanto hearing or
 any other litigation prior to Judge Matsumoto’s order that a Monsanto hearing be held. Government Letter of May
 19, 2011, at 1, ECF No. 214. According to the government, this previously un-identified account received and
 dispersed funds in exactly the same manner as the previously identified USW accounts as part of the same alleged
 fraud scheme. Id. at 2. As both parties agree to the existence and approximate current balance of the Chase account
 ending in 1036, I respectfully recommend that the Court apply the same analysis and holding to the 1036 account as
 it does for the previously identified and litigated USW Chase accounts.

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        Monsanto IV dictates that, pursuant to the Fifth and Sixth Amendments, a criminal

 defendant may be entitled to an adversary, post-restraint, pretrial hearing to challenge the

 government’s showing of probable cause that properties specified as forfeitable in the indictment

 are, in fact, forfeitable. See 924 F.2d at 1203. The purpose of the challenge is to allow

 defendants an opportunity to regain possession of seized property for the purpose of retaining

 their counsel of choice. See id. To be granted a hearing, a defendant must: (1) demonstrate to

 the court’s satisfaction that he has no assets, other than those restrained, with which to retain

 private counsel and provide for himself and his family; and (2) make a prima facie showing that

 the assets are not forfeitable. See United States v. All Funds on Deposit, No. CV-05-3971, 2007

 U.S. Dist. LEXIS 77817, at *19–20 (E.D.N.Y. Oct. 17, 2007). Judge Matsumoto found both

 elements met when she ordered that a Monsanto hearing be held. See generally Transcript of

 Criminal Cause for Motion Hearing of Apr. 25, 2011 (“Hearing Tr.”).

        In order to continue restraining a defendant’s property, the government “need only

 establish probable cause as to the defendant’s guilt and the forfeitability of the specified assets. .

 . .” Monsanto IV, 924 F.2d at 1195 (citing United States v. Monsanto (“Monsanto III”), 109 S.

 Ct. 2657, 2666–67 (1989)); see also United States v. Hatfield, No. 06-CR-0550, 2010 U.S. Dist.

 LEXIS 39618, at *13–14 (E.D.N.Y. Apr. 21, 2010). The defendant, on the other hand, is

 “required to prove ‘by a preponderance of the evidence that the government seized

 [nonforfeitable] assets without probable cause.’” United States v. Wingerter, 369 F. Supp. 2d

 799, 808 (E.D. Va. 2005) (insertion in original) (quoting Mathews v. Eldridge, 424 U.S. 319,

 334–35 (1976).

        Defendant Watts consistently argued prior to the May 13th hearing that the issue of

 probable cause as to the government’s detention of the USW bank funds should be governed by



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 the tracing principles enunciated in United States v. Banco Cafetero, 797 F.2d 1154 (2d Cir.

 1986). E.g., Watts Letter of May 11, 2011, at 1, ECF No. 198. In Banco Cafetero, the Second

 Circuit held that drug money commingled in a bank account with legitimate money is forfeitable,

 but implied that the legitimate money in the same account is not forfeitable. 797 F.2d at 1159,

 1161 n.9. Here, under the Banco Cafetero tracing principles, the government would have to

 trace forfeitable deposits of loan proceeds into the seized USW bank accounts at issue. Id. at

 1157–62.

         Conversely, the government argued that Banco Cafetero did not apply here because this

 is not a comingling case, and that this issue should be governed by the “but for” test endorsed by

 the Second Circuit in United States v. Porcelli, 865 F.2d 1352 (2d Cir. 1989). Gov’t Letter of

 May 11, 2011, at 3–5, ECF No. 197. Under Porcelli, otherwise legitimate or untainted assets

 may nonetheless be seized by the government if a criminal defendant “would not have acquired

 or maintained [them] but for his fraudulent scheme.” 865 F.2d at 1365 (emphasis added).

 According to the government’s theory, “the seized funds are forfeitable in their entirety because

 the entire amount is a product of the tainted funds . . . . [B]ut for the fraudulently obtained loan

 proceeds used to pay [USW] employees, there simply would have been no proceeds of USW or

 payments by USW’s customers.” Gov’t Letter of May 11, 2011, at 3.

         By order dated May 12, 2011, I advised the parties that I agreed with the government that

 the “but for” test governs this issue, and that, for the purposes of defendant Watts’ Monsanto

 hearing, the affidavits of FBI Special Agent Gavin Shea in support of the original arrest and

 seizure warrants, and the tracing principles enunciated in Banco Cafetero are irrelevant.2 I also

 informed the parties that I was satisfied that, per Mr. Petrellese’s April 28, 2011 affidavit, the


 2
  Judge Matsumoto also previously indicated that the Monsanto hearing would be based upon the “but for” theory
 proffered by the government. See Hearing Tr. 54.

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 government had met its burden of establishing probable cause to believe that the USW bank

 funds presently at issue are forfeitable and, therefore, may lawfully continue to be restrained.

 Scheduling Order as to Monsanto Hearing 2, ECF No. 203. Accordingly, on May 13, 2011, I

 held a Monsanto hearing for the limited purpose of allowing defense counsel to cross-examine

 Mr. Petrellese with regard to the factual statements sworn to in his affidavit in support of the

 government’s “but for” theory. See generally Monsanto Tr.

                                      II.     DISCUSSION

         Mr. Petrellese’s May 2011 affidavit and hearing testimony, as well as exhibits submitted

 into evidence by defendant Watts, illustrate the banking structure and practices of GDC

 Acquisitions, LLC (“GDC”) and its various subsidiaries. See generally Exs. 2, 4, 5. With regard

 to the USW subsidiary, customer deposits were regularly transferred out of the subject Chase

 accounts, into the USW Operating Account at Amalgamated Bank, and then transferred to a

 Concentration Account at Amalgamated. Monsanto Tr. 12–14. The Concentration Account held

 the available cash of all of GDC’s subsidiaries, as well as the loan proceeds alleged to have been

 fraudulently obtained. Id. at 12–15. The Chief Financial Officer (“CFO”) of GDC would then

 transfer funds from the Concentration Account into the USW Payroll Account at Amalgamated

 as necessary, from which USW paid its employees and other expenses. Id. at 37; Exs. 5, 6.

         During the period of the alleged fraud, the Concentration Account received

 approximately $18 million in fraudulently obtained loan proceeds, which accounted for

 approximately 20% of the $89 million in total cash held in the account. Monsanto Tr. 29; Exs. 3,

 4, 7.   During the same time period, approximately $1.7 million was disbursed from the

 Amalgamated Bank Concentration Account to the USW Payroll Account. Petrellese Aff. 2.

 This $1.7 million was then disbursed to pay the payroll of USW employees and other expenses.



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 See id.    Between August 2009 and July 2010, approximately $3.5 million in customer payments

 were deposited into the seized USW accounts. Monsanto Tr. 5–7. After the July 2010 seizure of

 the USW accounts, approximately an additional $980,000 in customer payments were deposited

 into the subject USW accounts. Id. These $4.5 million in payments were made by bona fide

 commercial customers, such as Kroger supermarkets. Id. at 7–8.

           Defendant Watts’ cross-examination of Mr. Petrellese also establishes that, indeed, no

 proceeds from the Concentration Account, the USW Operating Account, or the USW Payroll

 Account were ever transferred or deposited into to the subject USW Chase accounts. Monsanto

 Tr. 14–15; Exs. 2, 4, 5, 6. Again, USW’s available cash, along with that of the rest of GDC’s

 subsidiaries, was transferred into the Concentration Account. See Monsanto Tr. 12, 18, 19.

 Accounts such as the USW Payroll Account would then receive funds from the Concentration

 Account as needed. See Petrellese Aff. 2. During the course of the alleged fraud, the balance of

 the Concentration Account sometimes fell below the amounts of the loan deposits, and more than

 once fell to as low as zero. Monsanto Tr. 34–37; Ex. 4. Finally, Mr. Petrellese admitted that he

 could not say what amount, if any, of the loan proceeds in the Concentration Account went to the

 USW Payroll Account. Monsanto Tr. 32–33.

           In light of the above facts, defendant Watts asserts that the funds held in the subject USW

 accounts are untainted, and therefore unforfeitable, for three reasons: (1) no loan proceeds were

 deposited into the subject USW accounts; (2) USW did not need loan proceeds to fund its

 payroll, as its customer deposits at Chase more than covered its payroll needs; and (3) Mr.

 Petrellese acknowledged that the Concentration Account held comingled funds. Def. Watts’

 Post-Hearing Mem. (“Watts’ Mem.”) 7, ECF No. 217. Defendant Watts argues that these factors




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 defeat the government’s “but for” theory, and therefore rebut the government’s offer of probable

 cause to continue restraining the USW bank funds. See id. at 8.

        However, defendant Watts’ arguments are in contradiction to both relevant “but for” test

 case law, and the realities of how the criminal defendants are alleged to have fraudulently

 obtained $18 million in loan monies.

        Firstly, the fact that no loan proceeds were deposited into the subject USW accounts is

 precisely why the Second Circuit adopted the “but for” test, and is therefore irrelevant to this

 case. See Porcelli, 865 F.2d at 1365 (finding that the lower court erred in not determining the

 extent to which certain properties that were “not entirely the tainted fruits of [defendant’s] fraud”

 would not have been acquired “but for” the fraudulent scheme). To require the government to

 establish that loan proceeds were directly deposited into the subject USW accounts would be to

 require the application of Banco Cafetero’s tracing principles, which both Judge Matsumoto and

 I have already indicated are inapplicable in this case. See Hearing Tr. 54; Scheduling Order as to

 Monsanto Hearing at 2.

        Secondly, and perhaps most importantly, defendant Watts’ assertion that USW did not

 need loan proceeds to run its business is belied by the facts of this case and applicable law.

 Defendant Watts argues that the roughly $4.5 million in USW customer payments were

 deposited into the Concentration Account as a matter of “administrative convenience,” Watts’

 Mem. at 8, and that these customer deposits evince USW’s independent profitability and

 solvency, see id. at 7. However, the proposition that USW could have operated independently

 does nothing to counter the allegation that it operated as part of an elaborate network of bank

 accounts and business records in which, as Mr. Petrellese testified, “money could be counted two




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 or three times because of the transfers back and forth on a regular basis. . . .” for the purpose of

 obfuscating the underlying fraudulent scheme. Monsanto Tr. 20.

         Moreover, the proposition that USW could have operated independently is not supported

 by the record. During the course of the alleged fraud, the USW Payroll Account received some

 $1.7 million from the Concentration Account, which was then disbursed to USW employees and

 other USW expenses, thereby making the approximately $1 million in customer payments at

 issue possible. The fact that the balance of the Concentration Account several times fell to zero

 supports the inference that, but for the roughly 20% of the total balance that was composed of

 loan proceeds, there very well may not have been $1.7 million to transfer back to the USW

 Payroll Account.3 Id. at 7. Accordingly, there would not have been USW staff to earn the

 customer deposits at issue. Also, as defendant Watts himself notes, “customer payments from

 USW not only funded its own operations, they also helped fund other companies. . . .” Watts’

 Mem. at 8; Exs. 8, 6A. Therefore, retaining all of its customer payments would never have been

 a viable option for USW, because every dollar in loan proceeds and customer payments appears

 to have been needed to keep the GDC family of companies afloat.

         Furthermore, as noted by the government, “at the time of defendant’s arrest, the

 fraudulently obtained line of credit was drawn down by over $18 million. Most of these funds

 are still outstanding, indicating that the fraudulent scheme in no way generated a profit.”

 Government Letter of May 23, 2011, at 2, ECF No. 236. This means that, taking a broad view of

 USW as part of the overall GDC family, the millions of dollars in customer payments received

 by USW cannot be considered “profit,” per se. Alternatively, even if USW’s customer payments


 3
   Put another way, by design, USW paid its employees exclusively by means of a payroll account funded by the
 Concentration Account, 20% of which is alleged to have been composed of fraudulently obtained loan monies. A
 periodic $0 Concentration Account balance suggests that the account’s 20% in loan monies made possible
 disbursements to subsidiaries like USW that otherwise could not have been made.

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 can be considered profit, it is irrelevant for forfeiture purposes whether property obtained via

 illicit activity generate an honest profit. See United States v. Kalish, No. 05-CR-656, 2009 U.S.

 Dist. LEXIS 31453, at *17 (S.D.N.Y. Jan. 23, 2009); see also United States v. Hill, 46 Fed.

 Appx. 838, 839 (6th Cir. 2002) (“[B]ecause this case merely involves the appreciated value of

 the forfeited 616 shares, the district court properly ordered the forfeiture of the appreciated value

 of the stock.”).

         Thirdly, and finally, the fact that Mr. Petrellese acknowledged that the Concentration

 Account was composed of a comingling of approximately 20% in allegedly fraudulent loan

 proceeds and 80% in transfers from subsidiaries does not make this a comingling case. C.f.

 Banco Cafetero, 797 F.2d at 1161 n.9 (implying that untainted monies comingled with tainted

 monies are not forfeitable). Nor does it change the fact that, but for those loan monies, the

 subject USW bank funds would not have been possible. See, e.g., Porcelli, 865 F.2d at 1364–66

 (describing how property interests outside of a RICO enterprise may also be forfeitable as the

 fruit of a broader fraudulent scheme).

                                          III.     CONCLUSION

         In light of the foregoing, I respectfully recommend that the Court find that defendant

 Watts has failed to establish that the government lacks probable cause to continue restraining the

 subject USW bank funds as property subject to forfeiture, and therefore deny his request under

 United States v. Monsanto for the release of these funds in order to retain counsel.4

         Any objections to this Report and Recommendation must be filed with the Clerk of the

 Court, with a copy to the undersigned, within fourteen (14) days of the date of entry of this


 4
   In its post-hearing memorandum, the government additionally argues that the retention of the seized funds is
 appropriate pursuant to Banco Cafetero. Government Letter of May 23, 2011, at 3. However, because this Court
 has previously found that Banco Cafetero is inapplicable to this case, I decline to comment on the government’s
 analysis in this regard.

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 Report and Recommendation. Failure to file objections within the specified time waives the

 right to appeal the District Court’s order. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(a).


        SO ORDERED.

 Dated: June 2, 2011
        Brooklyn, New York
                                                      _____ __  /s/ _____________________
                                                      JOAN M. AZRACK
                                                      UNITED STATES MAGISTRATE JUDGE




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